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UNITED STATES DISTRICTCOURT =,
EASTERN DISTRICT OF LOUISIANA = 12 0CP $5 ax

NEW ORLEANS DIVISION

IN RE: FEMA TRAILER

FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO
Civil Action No. 09-7842

Jeanell Barnes, et. al.

Vs.
_ Lakeside Park Homes, Inc., et al.

MDL NO. 1873
SECTION “N” (5)

* JUDGE ENGELHARDT
* MAGISTRATE CHASEZ

SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT

PURSUANT TO PRETRIAL ORDER NO. 53

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their

Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct

Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach

hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

ROBERT C. HILLIARD

Trial Attorney in Charge for Plaintiffs

Texas State Bar No. 09677700

Southern District of TX Federal ID No. 5912

Kevin W. Grillo, Of Counsel

Texas State Bar No. 08493500

Southern District of TX Federal ID No. 4647

ROBERT C. HILLIARD, L.L.P.

719 S. Shoreline Boulevard, Suite 500

Corpus Christi, Texas 78401

Telephone: (361) 882-1612 Fee

Facsimile: (361) 882-3015 ___ Process
_X_Dkid
___CtRmDep
___Doc. No.

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MIKAL C. WATTS

Texas State Bar No. 20981820

Southern District of TX Federal ID No. 12419
MIKAL C. WATTS, P.C.

2506 N. Port Ave.

Corpus Christi, Texas 78401

Telephone: (800) 994-0019

Facsimile: (361) 882-1261

RICHARD P. IEYOUB

Louisiana State Bar and

Eastern District of Louisiana Federal ID No. 2217
CARLETON DUNLAP OLINDE & MOORE, LLC
One American Place, Suite 900

Baton Rouge, LA 70825

Phone 225-282-0600

Fax 225-282-0650

DANIEL D. WARE

Mississippi State Bar and

Southern District of Mississippi Federal ID No.
10847

CARROLL LOUIS CLIFFORD IV

Mississippi State Bar and

Southern District of Mississippi Federal ID No.
99545

WARE CLIFFORD LAW FIRM PLLC

2625 Ridgewood Rd., Ste 100

Jackson, MS 39216

Phone 601-368-9310

Fax 601-368-9958

ATTORNEYS FOR PLAINTIFFS
* Case 2:07-md-01873-KDE-MBN Document 17112 Filed 10/15/10 Page 3 of 3

Exhibit A —
Carmen Fisher (201918)

Dorothy Reilly (220402)

Florence Lauland (210997)

Goldie Cross (202193)

Shaw Environmental, Inc

Jeanell Barnes (203291)

Jeffery Reilly (220404)

Jesse Barnes (203293)

Romal Cross (202194)

Shaw Environmental, Inc

Willis Hawkins (205345)

Fluor Enterprises, Inc

